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LABOR READY, INC., and RISTRICT GH MASS. DATE_fA~AAF -UA
LABOR READY NORTHEAST, INC.,

Plaintiffs, CIVIL ACTION NO.

V.

ANTI-DISPLACEMENT PROJECT, and

STEVEN DONDLEY, 02-12429EFH

Defendants.

 

 

COMPLAINT FOR TRADEMARK
INFRINGEMENT AND UNFAIR COMPETITION

Plaintiffs, Labor Ready, Inc. and Labor Ready Northeast, Inc., as and for its

Complaint against Defendants, Anti-Displacement Project and Steven Dondley, aver as follows:
PRELIMINARY STATEMENT

1. Plaintiffs, Labor Ready, Inc. and its subsidiary and licensee, Labor Ready
Northeast, Inc. (Plaintiffs are collectively referred to hereinafter as “Labor Ready” unless the
context indicates otherwise), have been using LABOR READY as a mark, name, and as the
dominant element of its logo since long prior to the conduct of the defendants complained of
herein in connection with temporary employment agency services. The LABOR READY mark
is protected by federal trademark registration, U.S. Registration No. 1,668,771.

2. Labor Ready has achieved considerable success under the LABOR
READY mark, name, and logo; and such mark, name, and logo are well-recognized in the

temporary employment agency services industry. The LABOR READY mark, name, and logo

as shown in Exhibit A have come to be recognized as identifying Labor Ready’s services and

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business. The LABOR READY mark, name, and logo are, accordingly, very valuable assets of
Labor Ready.

3. Upon information and belief, on or about November 2, 2002, the Anti-
Displacement Project, under the direction and control of Steven Dondley (referred to collectively
hereinafter as “A-DP” unless the context indicates otherwise) created and caused to go live a
website. The content of the A-DP website can be accessed through the domain name
slaverready.com.

4. A major graphic feature on the slaverready.com website is a simulation of
the LABOR READY logo, depicted as shown in Exhibit B.

5, A-DP’s use of this simulation of the LABOR READY logo on its
slaverready.com website is likely to cause confusion as to the source or origin or sponsorship of
A-DP’s activities and as to its affiliation or relationship with Labor Ready.

PARTIES

6. Labor Ready, Inc. is a publicly held corporation authorized to do business
throughout the United States, including in Massachusetts, and it has corporate headquarters at
1015 A Street, Tacoma, Washington 98402.

7. Labor Ready Northeast, Inc. is a subsidiary of Labor Ready, Inc., with an
address of 307 West Broadway, Boston, MA.

8. A-DP is, on information and belief, a nonprofit Massachusetts corporation
having an address of 57 School Street, Springfield, Massachusetts 01118.

9. Steven Dondley conducts business in Massachusetts and directs and
controls the activities of A-DP which are the subject of this complaint, and is conducting such

activities from 57 School Street, Springfield, Massachusetts 01118.

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JURISDICTION AND VENUE
10. _A-DP is engaging in the activities complained of in this District and is
subject to the jurisdiction of this Court.
11. This action arises under 15 U.S.C. § 1114 and 15 U.S.C. § 1125. This
Court has jurisdiction of the subject matter of this action pursuant to 15 U.S.C, § 1121, 28 U.S.C.
§ 1331, and 28 U.S.C. § 1338.
12. Venue is proper within this judicial district under 28 U.S.C. § 1391.

THE LABOR READY MARK, NAME, AND LOGO

13. Since 1990, Labor Ready has offered and rendered in commerce
temporary employment agency services under the LABOR READY mark and name.

14. Labor Ready has, since long prior to the acts of A-DP complained of
herein, continuously used the LABOR READY mark, name, and logo in connection with
temporary employment agency services.

15. The services offered and provided under the LABOR READY mark,
name, and logo have been well received by the relevant trade and public; and the goodwill
generated for the LABOR READY mark, name, and logo has been and is substantial.

16. Labor Ready, Inc., through its subsidiaries and related companies, has put
more than 500,000 workers to work in 2002, alone and currently employs approximately 3,000
people full-time.

17. Labor Ready, Inc., through its subsidiaries and related companies,
operates through approximately 750 branches located throughout the United States, Puerto Rico,
Canada and the United Kingdom.

18. | Each Labor Ready branch is responsible for recruiting temporary workers,

for running the day-to-day operations of the branch, and for generating customers.

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19, In Massachusetts, there are 22 Labor Ready branches located throughout
the state. In 2001, Labor Ready branches in Massachusetts were responsible for employing
16,505 people in Massachusetts and contributed over $13 million in payroll. These Labor Ready
branches in Massachusetts served 6,650 customers.

20. Labor Ready’s LABOR READY mark, name, and logo are inherently
distinctive when used in connection with the services of Labor Ready.

21. Asaresult of the quality of the services rendered by Labor Ready, and as
a result of the extent of the activities of Labor Ready, including continuous and extensive
promotion to the relevant public and trade since long prior to the activities of A-DP of which
complaint is made, the LABOR READY mark, name, and logo have become well and favorably
known to the relevant trade and public and have been and are associated with Labor Ready and
with no other entity in the relevant temporary employment agency services industry.

22. The nature and extent of the use of the LABOR READY mark, name, and
logo by Plaintiff is illustrated by the representative materials attached as Exhibit C.

23. Labor Ready has secured and is the owner of U.S. Trademark Reg. No.
1,668,771 for temporary employment agency services. This registration is valid, subsisting and
incontestable. A printout of the pertinent information concerning this registration is attached as
Exhibit D.

A-DP’S UNAUTHORIZED USE OF “SLAVER READY”

24. On or about November 2, 2002, A-DP created and caused to go live the
slaverready.com website. This website currently displays the term “SLAVER READY” across

the top of each web page in a manner deliberately confusingly similar to Labor Ready’s LABOR

READY logo.

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25. A-DP is employing a simulation of the LABOR READY logo on its
website repeatedly in a calculated effort to interfere with the goodwill and reputation of Labor
Ready in its Labor Ready mark, name, and logo.

26. | Upon information and belief, A-DP’s interference is done in furtherance
of its plan to set up a hiring hall in competition with Labor Ready. Damaging Labor Ready’s
goodwill would enhance A-DP’s ability to enter the market as a competitor of Labor Ready.

27. Labor Ready has objected to A-DP’s use of the SLAVER READY logo on
the slaverready.com website as depicted in Exhibit B, but A-DP has refused to desist from the
complained of conduct.

28. A-DP had actual notice of Labor Ready’s mark, name, and logo and
adopted the logo in issue and commenced extensive use of such logo on its website with
knowledge of Labor Ready’s prior and superior rights in the LABOR READY mark, name, and
logo.

29. A-DP’s use of the logo in issue is in derogation of the rights of Labor
Ready in its mark, name, and logo.

30. | A-DP has adopted and used and continues to use the logo in issue

willfully, intentionally, and knowingly as a mark in bad faith.

COUNTI
FEDERAL TRADEMARK INFRINGEMENT — 15 U.S.C, § 1114

31. | Labor Ready incorporates by reference the allegations contained in the
preceding paragraphs of the Complaint as though the same were fully rewritten herein.

32. Use by A-DP of the logo in issue as depicted in Exhibit B in connection
with its website promoting its services is likely to cause confusion with Labor Ready’s registered

mark, granted the close and deliberate similarity between the designation chosen by A-DP and

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the Labor Ready mark and granted the related nature of the activities, services and businesses of
the parties, both current and prospective.

33. | Members of the relevant public and trade who see A-DP’s repeated use of
logo in issue are likely to believe in error that A-DP’s activities are conducted by or with the
approval or authorization of Labor Ready or that A-DP’s activities are conducted with the
consent or approval of Labor Ready.

34. The repeated use by A-DP of the logo in issue in connection with its
website and in anticipation of its entry into the marketplace as a competitor of Labor Ready is
likely to cause confusion, mistake, and deception among the relevant public and trade as to the
source or sponsorship of A-DP’s activities, and as to the affiliation of Labor Ready with A-DP’s
activities, causing harm to Labor Ready’s business, reputation and goodwill.

35. Labor Ready has not consented directly or indirectly to the use by A-DP
of the logo in issue in connection with its website or the initiation of competitive business.

36. The activities of A-DP complained of herein constitute trademark
infringement of Labor Ready’s registered mark in violation of the Lanham Act, 15 U.S.C.

§ 1114, to the substantial and irreparable injury of Labor Ready’s business, reputation and
goodwill.

37. Labor Ready has no adequate remedy at law. The said conduct of A-DP
has caused and, if not enjoined, will continue to cause, irreparable injury to Labor Ready.

38. Labor Ready has sustained and will sustain substantial damages from the

aforesaid unlawful actions of A-DP, in an amount to be determined at trial.

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PRAYERS FOR RELIEF

WHEREFORE, Plaintiffs, Labor Ready, Inc. and Labor Ready Northeast, Inc.,
respectfully demand judgment:

1. That Defendants’ conduct as described herein constitutes:

(a) federal trademark infringement, in violation of Section 32 of the
Lanham Act, 15 U.S.C. § 1114; and

(b) unfair competition in the nature of false designation of origin and
representations, in violation of Section 43(a) of the Lanham Act,
15 U.S.C. § 1125(a);

2. That the Defendants, their officers, directors, agents, servants, employees,
attorneys, related companies, licensees, and all persons acting for, with, by, through, and under
them be enjoined from using the logo depicted in Exhibit B and any other mark, name or logo
which simulates the LABOR READY mark, name or logo; and from committing any other act
calculated or likely to cause purchasers, potential purchasers of Labor Ready’s Services or
members of the relevant trade or public to believe that the activities of the Defendants are
sponsored, authorized, or otherwise approved by the Plaintiffs, unless they are such;

3. That the Defendants pay to the Plaintiffs such damages as the Plaintiffs
have sustained in consequence of the trademark infringement, unfair competition and unfair and
deceptive acts and practices of the Defendants, and to account for and pay to the Plaintiffs, all
gains, profits, and advantages derived by the Defendants from said unfair competition;

4. That the Defendants pay to the Plaintiffs three times such profits or
damages, whichever is greater, together with pre-judgment interest, as a consequence of the

willful nature of Defendants’ unfair competition;

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5. That the Defendants be required to recall and destroy all items not yet in
the hands of the public, including but not limited to advertising, brochures and promotional
materials that bear the logo in issue;

6. That the Defendants pay to the Plaintiffs their reasonable attorney’s fees
and the full costs of this action pursuant to 15 U.S.C. § 1117 and G.L. ch. 93A; and,

7. That the Plaintiffs have such other and further relief as the Court may

deem equitable.

Respectfully submitted,

LABOR READY, INC and
LABOR READY NORTHEAST, INC,

By their attorneys

Wms Z&, fra

 

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CESARI AND MCKENNA, LLP

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Boston, Massachusetts 02210

(617) 951-2500

Of Counsel:

Roberta Jacobs-Meadway, Esq. (PA No. 21214)
Richard Peirce, Esq. (PA No. 85659)

BALLARD SPAHR ANDREWS & INGERSOLL, LLP
1735 Market Street, 51* Floor

Philadelphia, PA 19103-7599

tel, (215) 665-8500

fax.

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Labor Ready is the nation’s e-customer login
leading provider of temporary
manual labor to the light

Welcome!

Mission Statement i i
industrial and small business Use this log-in
form to access the
markets. Whether you need :
Our Guarantee on-line order
one or one hundred workers placement and
for one or one hundred days, reporting system.

Job Opportunities call Labor Ready. We'll send

workers as quickly as one hour Retrieve forgotten

 

eenes after you order, and every password
ae worker is backed by our email:
Open An Account President's 100% Satisfaction mail:

Help is on the way when you call Guarantee.

|
Customer Care Labor Ready!

: Password:
Good help is not hard to
News Subscription find...just call Labor Ready!
Your Source for dependable ep
Branch Locator temporary workers. ’
. . Get 2 Hours Free Labor Greetings from our CEQ
Invoice Viewer Labor Ready became a market

Learn how you benefit from a Labor
Ready e-customer account. Order : ok
workers, manage your account and 2708S North America by providing a

needed service-dependable,
more, and get 2 hours FREE labor temporary labor-to businesses of

when you open a new e-customer ve : :
a count! P every size in hundreds of industries.
, It's that simple. more...

leader with over 700 branches

10 Jobs Labor Ready Workers Do Every Day

Freight Handling: Our workers will load or unload anything!
Construction: We do site clean-up and many unskilled tasks.
Janitorial: Need help keeping things neat?

Light Industrial/Assembly: Unskilled repetitive tasks are one of our
specialties.

Demolition: We can tear it up!

Food Processing: Sure, we can cook.

Catering: Large or small events are no problem for our workers.
Waste Hauling: We'll take out your garbage too.

Fixture Installation: We help installing lights or shelves.
Warehouse: Unloading and inventory management,

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Home * News * Services * e-customers * Investors * Privacy Statement « Customer Care
Labor Ready, Inc. *PO Box 2910 * Tacoma, WA 98402-2910 * 1-800-24LABOR * ©2001 Labor Ready®

http://www. laborready.com/home/common/homemain.asp 12/18/2002

 

 
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Home

How Labor Ready
Exploits Workers

Worker Testimony
Discrimination

Campaign Timeline of
Events

Media Coverage
Links

About A-DP

More coming soon!

 

The Anti-Displacement Project (A-
DP) is proud to present this web
site to get the word out about its
aggressive, first-of-its kind
campaign against America’s worst
employer, Labor Ready.

Labor Ready is in the business of
selling cheap, human labor at the
lowest possible cost to its
customers. But selling labor cheap
comes with huge human costs: Labor Ready workers are getting systematically
ripped-off, exploited, and abused. It's modern day slavery and it's illegal.

 

This web site will document how Labor Ready exploits workers in the Western
Massachusetts community. Second, it will give a blow by blow account of how a small
but determined group of low-income workers is going to abolish this mutti-billion
dollar, multi-national corporation's shenanigans. Finally, it will show why our
community needs a non-profit, worker-run Workers' Center as an alternative to for-
profit hiring halls that treat workers as commodities. The Workers’ Center goal will be
to pay as much money into workers’ pockets, provide real opportunities for developing
our community's most vulnerable workforce, and treat workers with the dignity and
respect that is due every worker and human being.

COMING SOON TO
THIS SITE:

Breaking News +- MORE testimony from Labor
Ready workers about how they are

. exploited,
Cutler Associates has agreed to -- Documentation of Labor Ready’s

meet with the A-DP on December 6, exploitive practices.

2002. Stay tuned for more... -- The inside scoop on the campaign.
Learn what you aren't reading or
seeing in the media.
-- Latest campaign updates.

For more info, call the A-DP at 413-

739-7233 or send an e-mail to
steve@a-dp.org

http://www.slaverready.com/index.htm 12/18/2002

 

 
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Welcome! Labor Ready is the nation’s e-customer login
leading provider of temporary
manual fabor to the light
industrial and small business
markets. Whether you need on-line order
one or one hundred workers placement and
for one or one hundred days, reporting system.
call Labor Ready. We'll send

workers as quickly as one hour Retrieve forgotten

Mission Statement Use this log-in

form to access the
Our Guarantee

Job Opportunities

#2808

 

after you order, and every password
worker is backed by our Email:
Open An Account President's 100% Satisfaction 9 =
Hetp is on the way when you call Guarantee.
Customer Care Labor Ready! - Password:
Good help is not hard to -
News Subscription find...just call Labor Ready!
Your Source for dependable en
Branch Locator temporary workers. .
. . Get 2 Hours Free Labor Greetings from our CEO
Invoice Viewer Labor Ready became a market

Learn how you benefit from a Labor
Ready e-customer accourt. Order
workers, manage your account and
more, and get 2 hours FREE labor
when you open a new e-customer
account!

leader with over 700 branches
across North America by providing a
needed service-dependable,
temporary labor-to businesses of
every size in hundreds of industries.
It's that simple. more...

10 Jobs Labor Ready Workers Do Every Day

Freight Handling: Our workers will load or unload anything!
Construction: We do site clean-up and many unskilled tasks.
Janitorial: Need help keeping things neat?

Light Industrial/Assembly: Unskilled repetitive tasks are one of our
specialties.

Demolition: We can tear it up!

Food Processing: Sure, we can cook.

Catering: Large or small events are no problem for our workers.
Waste Hauling: We'll take out your garbage too.

Fixture Installation: We help installing lights or shelves.
Warehouse: Unloading and inventory management.

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http://www.laborready.com/home/common/homemain.asp 12/18/2002

 

 
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Investors
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investor Relations «| News Releases
Management & :
Directors Current | Archive
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Stock Quote Date Title (click to view the full text)
Stock Chart 12/13/2002 Labor Ready Updates Fourth Quarter Guidance
Advanced 12/12/2002 Labor Ready Announces Additional Share Repurchase
Fundamentals Authorization

12/12/2002 Matt Rodgers Named Labor Ready Chief Operating, Officer

News Releases

10/15/2002 Labor Ready Reports 7.6% Increase in Net Income for Third
Earnings Quarter
Estimates

10/10/2002 Labor Ready Successfully Resolves Washington Workers

Compensation Audit; Two Other Successful Legal
Developments Also Announced

Financial Reports 9/27/2002 Labor Ready Updates Third Quarter Guidance Revenue and
Net Income Ahead of Previous Estimates

Analyst Coverage

SEC Fili
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i Search |

Calendar of
Events

E-Mail Alerts

Information
Request

 

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http://www.corporate-ir.net/ireye/ir_site.zhtm] ?ticker=lrw&script=400 12/18/2002

 

 
Customers

Page | of |

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BLUE MCLE LE AC CLLLE

 

Services
Our Guarantee ‘
Customer FAQ
How We Work
Success Stories

Industries Served

 

Labor Ready provides e-customer login
dependable unskilled workers
to do the hard jobs that Use this log-in
occasionally come up in your form to access the
business. ‘
Thi . imolifi . on-line order

is service simplifies your job placement and

since we handle all the payroll reporting system.
processing (pay, insurances,

deductions, etc). This makes it Retrieve forgotten
easy for you to concentrate on password

what counts: Your Business! .
Email:

Help is on the way when you call |

Labor Ready!
Password:

How you save time and money with Labor Ready:

Tax iDs (W-9)
aeaeaae °
Open An Account

.

Customer Care
.
News Subscription :

Branch Locator
“owe °
Cost Justification °
Industry Links °
*

Invoice Viewer

Simply place your order and if the workers are available

the right workers will be on site on time, as fast as one eb
hour after the order is placed! °
You pay no personnel-related overhead, withholdings,

add-ons or fringe benefits.

You pay only for hours worked (minimum of four hours).

You have no contract with any Labor Ready worker.

!f you choose to hire a Labor Ready worker as a

permanent employee, simply let us know. There will be

no charge.

Workers can be dispatched any time, 24 hours a day,

and 7 days a week.

No paperwork hassles. Each worker carries a work

order for you to sign at the end of the shift.

You receive one easy-to-read bill per week, payable

within seven days. (Now pay invoices online!)

You may cancel your work order without charge up to

one hour prior to start time.

Your satisfaction with Labor Ready workers is 100%

Guaranteed!

 

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Investor Relations

Management &
Directors

Stock Quote
Stock Chart

Advanced
Fundamentals

News Releases

Earnings
Estimates

Analyst Coverage
Financial Reports
SEC Filings

Frequently Asked
Questions

Calendar of
Events

E-Mail! Alerts

Information
Request

SSL MCU EE MLL EP

Investors

Investor Relations

Corporate Profile

Labor Ready is the nation’s leading provider of temporary manual labor to
the light industrial and small business markets. Labor Ready puts people
to work, serving more than 300,000 customers by providing a flexible,
dependable workforce to such industries as freight handling,
warehousing, landscaping, construction and light manufacturing. Labor
Ready operates in 50 states, Puerto Rico, Canada, and the United
Kingdom and is based in Tacoma, Washington.

Shareholder Information
Exchange

New York Stock Exchange
Stock Quote (LRW)

5.83 -0.19 (-3.16%)

As of 12/18/2002 1:18 PM

Minimum 20 minutes delayed
Listed Security

LRW Common Stock
Corporate Information

1015 A Street
Tacoma, WA 98402
http:/Awww.LaborReady.com

Transfer Agent

Computershare Trust Company
350 Indiana Street, Suite 800
Golden, CO 80401

Phone 303.262.0600

Investor Relations Contact
Steve Cooper
Executive Vice President & CFO

Phone 800.610.8920
InvestorRelations@LaborReady.com

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Welcome! = Mission Statement

 

Mission Statement °

“ Labor Ready is the proactive, ethical, international industry leader
providing dedicated workers and quality service to our valued
customers. We provide economic opportunities for all of our

employees and shareholders."

Our Guarantee
Job Opportunities
eae 8 @
Open An Account
Customer Care
News Subscription
Branch Locator

Invoice Viewer

 

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http://www. laborready.com/common/missionstatement.asp 12/18/2002

 

 
 

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Trademark Electronic Search System (TESS)

TESS was last updated on Wed Dec 18 04:10:43 EST 2002

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LABOR READY

Goods and Services IC 035. US 101. G & S: temporary employment agency services. FIRST USE:

Mark Drawing
Code

Serial Number
Filing Date
Published for
Opposition
Registration
Number
Registration Date
Owner

Assignment
Recorded

19900817. FIRST USE IN COMMERCE: 19901001
(1) TYPED DRAWING

74109969
October 29, 1990

September 24, 1991

1668771

December 17, 1991

(REGISTRANT) LABOR READY INC CORPORATION WASHINGTON 1016
S 28TH ST TACOMA WASHINGTON 98409

ASSIGNMENT RECORDED

Attorney of Record JORDAN M MESCHKOW

Disclaimer

Type of Mark
Register
Affidavit Text
Renewal

Live/Dead
Indicator

NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "LABOR"
APART FROM THE MARK AS SHOWN

SERVICE MARK

PRINCIPAL

SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20010503.
1ST RENEWAL 20010503

LIVE

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Thank you for your request. Here are the latest results from the TARR web server.
This page was generated by the TARR system on 12/18/2002 13:45:30 ET

Serial Number: 74109969

Registration Number: 1668771

Mark (words only): LABOR READY

Current Status: This registration has been renewed.

Date of Status: 2001-05-03

Filing Date: 1990-10-29

Registration Date: 1991-12-17

Law Office Assigned: TMEO Law Office # 05

If you are the applicant or applicant's attorney and have questions about this file, please contact

Current Location: 900 - Warehouse (Newington)

Date In Location: 2001-05-07

 

CURRENT APPLICANT(S)/OWNER(S)

 

1. LABOR READY INC

Address:

LABOR READY INC

1016 S 28TH ST

TACOMA, WA 98409

United States

State or Country of Incorporation: Washington
Legal Entity Type: Corporation

 

GOODS AND/OR SERVICES

 

temporary employment agency services
International Class: 035

First Use Date: 19900817

First Use in Commerce Date: 19901001

Basis: | (a)

 

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. ADDITIONAL INFORMATION ~

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Disclaimer: "LABOR"

 

PROSECUTION HISTORY

 

2001-05-03 - Registration renewed ~- 10 year

2001-05-03 - Section 8 (10-year) accepted/ Section 9 granted
2001-01-17 - Combined Section 8 (10-year)/Section 9 filed
1997-03-31 - Section 8 (6-year) accepted & Section 15 acknowledged
1997-03-03 - Response received for Post Registration action
1997-01-30 - Post Registration action mailed Section 8 & 15
1996-12-11 - Section 8 (6-year) and Section 15 Filed

1991-12-17 - Registered - Principal Register

1991-09-24 - Published for opposition

1991-08-23 - Notice of publication

1991-04-10 - Approved for Pub - Principal Register (Initial exam)
1991-04-02 - Examiner's amendment mailed

1991-03-27 - Case file assigned to examining attorney

 

CONTACT INFORMATION

 

Correspondent (Owner)
JORDAN M MESCHKOW (Attorney of record)

JORDAN M MESCHKOW
MESCHKOW & GRESHAM
5727 N 7TH ST STE 409
PHOENIX AZ 85014-5818
United States

 

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